                Case 3:06-cr-05506-RBL        Document 53        Filed 12/13/06     Page 1 of 1



 1                                                                HONORABLE RONALD B. LEIGHTON
 2
 3
 4
 5
 6
 7
 8                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 9                                            AT TACOMA
10      UNITED STATES OF AMERICA,
11                                                       Case No. CR06-5506 RBL
                              Plaintiff,
12                      v.
13      JUSTIN N. EMERSON,
14                            Defendant.
15
16           THIS MATTER comes on upon the parties agreed motion for release pending sentencing.

17
18           Having considered the entirety of the records and file herein, and having heard the argument of the

19   parties, it is hereby

20           ORDERED that the defendant is released pending sentencing upon the same terms and conditions

21   as previously set in the personal recognizance bond entered by Magistrate Judge J. Kelley Arnold on

22   September 8, 2006.

23


                                                  A
24           IT IS SO ORDERED this 13th day of December, 2006.

25
                                                  RONALD B. LEIGHTON
26                                                UNITED STATES DISTRICT JUDGE

27
28


     ORDER
     Page - 1
